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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                        Case No.: 21-cv-21400-BLOOM/OTAZO-REYES

 DALADIER BURGOS

        Plaintiff,

 v.

 AT&T CORP

       Defendant.
 ___________________________________/

                        PLAINTIFF’S AGREED MOTION FOR LEAVE
                          TO FILE FIRST AMENDED COMPLAINT

        Plaintiff, DALADIER BURGOS, by and through undersigned counsel, and pursuant to

 Fed. R. Civ. P. 15(a)(2) and Local Rule 15.1 hereby moves for leave to file a First Amended

 Complaint to substitute Bellsouth Telecommunications, LLC for AT&T Corp as the sole defendant

 in this matter, and in further support, states as follows:

                                           BACKGROUND

        On April 12, 2021, Plaintiff filed a lawsuit against AT&T Corp (“AT&T”) alleging

 unlawful discrimination, hostile work environment, and disparate treatment based on his race

 and/or national origin, and retaliation in violation of Title VII of the Civil Rights Act of 1964

 (“Title VII”).

        Through communications between counsel, Defendant’s counsel informed Plaintiff’s

 counsel that, although Plaintiff worked for “AT&T” in a general sense, his actual employer was

 Bellsouth Telecommunications Inc. (“Bellsouth”), and that AT&T was not a proper defendant in

 this matter. Plaintiff asked for Defendant’s consent to file a First Amended Complaint for the

 purposes of substituting Bellsouth for AT&T, and Defendant agreed to the relief sought herein.


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 See Correspondence between Plaintiff’s counsel, Roy Lyford-Pike, Esq., and Defendant’s counsel,

 Zahira Diaz, Esq,, attached hereto as Exhibit 1.

                                             ARGUMENT

         Plaintiff should be allowed to file a First Amended Complaint because it serves the interests

 of justice. Pursuant to Fed. R. Civ. P. 15(a)(2), the Court should “freely give leave [to amend]

 when justice so requires.” Additionally, “a party may amend its pleading only with the opposing

 party’s written consent or the court’s leave.” Id. Here, the opposing party has consented to the

 amendment in writing.          See Exhibit 1.          Furthermore, a party who requests leave

 to amend ordinarily must be given at least one opportunity to do so before the complaint is

 dismissed. See Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th Cir. 2005). A district court

 may deny leave to amend “(1) where there has been undue delay, bad faith, dilatory motive, or

 repeated failure to cure deficiencies by amendments previously allowed; (2) where allowing

 amendment would cause undue prejudice to the opposing party; or (3) where amendment would

 be futile.” Id.

         Here, there has been no undue delay, bad faith, dilatory motive, or repeated failure to cure

 deficiencies. Instead, this is Plaintiff’s first Motion to Amend and it is made within the timeframe

 allowed for amendments in this Court’s scheduling order. See [DE10] (Amended pleadings

 deadline is July 19, 2021). Moreover, there would be no undue prejudice to Defendant—indeed,

 Defendant consents to this motion. Finally, the amendment would not be futile. The amendment

 is critical to ensure that the proper defendant is before this Court in this action, and that the wrongly

 named defendant is released. A copy of Plaintiff’s proposed First Amended Complaint is attached

 hereto as Exhibit 2.




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                                         CONCLUSION

        For the good cause shown above, and because leave to amend should be “freely given” and

 the motion is filed with consent, this Court should grant the instant motion and allow Plaintiff to

 file the attached First Amended Complaint.

                                                      Respectfully submitted,


                                                             /s/ Dana M. Gallup
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 18, 2021, I electronically filed the foregoing with the Clerk of
 the Court using CM/ECF. I also certify that the foregoing document is being served this day on
 all counsel of record or pro se parties identified on the attached Service List in the manner
 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
 other authorized manner for those counsel or parties who are not authorized to receive
 electronically Notices of Electronic Filing.
                                                                      /s/ Dana M. Gallup
                                                                      Dana M. Gallup. Esq.



                                          SERVICE LIST

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